       Case 7:18-cv-11111-NSR-PED Document 120 Filed 11/03/21 Page 1 of 1

                            UNITED STATES DISTRICT COURT
                                            The Charles L. Brieant, Jr
                                  Federal Building and United States Courthouse
                                              300 Quarropas Street.
                                          White Plains, New York 10601
                                                  914 390 4250

      Chambers of
 Hon. Paul E. Davison
 United States Magistrate Judge                                               November 3, 2021



 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                                               ORDER
  IN RE: CIVIL CONFERENCES BEFORE
  U.S.M.J. PAUL E. DAVISON
                                                                    7:18-cv-11111-NSR-PED




        Beginning March 30, 2020, until further notice, all parties to civil conferences before
 Judge Davison shall attend by phone, using the following information:

         Toll-Free Number: (877) 336-1839
         Access Code: 5999739

         The parties should call in from a landline and announce their names before speaking.

        For Settlement Conferences: Clients should NOT be on the conference call. Counsel
 must have ready telephonic access to clients.



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                                                                     11/3/21

Copy mailed to Pro Se Plaintiff by Chambers
11/3/2021
